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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                      CIVIL ACTION NO. 18-cv-10646



  HOPE COLEMAN, individually and as the legal
  representative of the ESTATE OF TERRENCE J.
  COLEMAN,

          Plaintiff,

  v.

  CITY OF BOSTON, et al.,

          Defendants.


              CITY OF BOSTON’S RESPONSE TO MARCH 31, 2023 ORDER

   I.      INTRODUCTION

        The Defendant City of Boston (the “City”) submits this response to the Court’s March

31, 2023 Order relating to redactions to Officers Finn and Boyle’s personal license to carry

firearms applications previously filed by Plaintiff. ECF 182. In its order, the Court states in

paragraph 3 that counsel for Finn and Boyle may file a version of the applications with revised

redactions for the Court to consider substituting on the docket. For the reasons stated at the

hearing, counsel for Finn and Boyle submit the attached exhibit – Exhibit A – and request that it

be substituted for the existing license to carry applications on the docket with the additional

personal information redacted.

        Additionally, in line with our ongoing discovery efforts, the City noted that certain

criminal history search documents were not attached to Officer Finn’s 2016 license to carry

application. For reasons unknown, these documents do not appear to have been printed in 2016.
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The City diligently sought to disclose this information and is consequently producing Officer

Finn’s 2022 application to renew his license to carry as it contains criminal history search

documents. See Exhibit B. Moreover, the City requested that BPD run a search for this

information again and is producing those results. See Exhibit C. So that the record is as complete

as possible, the City requests that Exhibit A, Exhibit B, and Exhibit C together replace the

license to carry applications presently on the docket.


Date: April 3, 2023                                      Respectfully submitted:

                                                         DEFENDANT, KEVIN FINN
                                                         DEFENDANT, GARRETT BOYLE

                                                         By their attorneys:

                                                         Adam N. Cederbaum
                                                         Corporation Counsel


                                                         /s/ Sarah J. McAteer
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                                 CERTIFICATE OF SERVICE

         I, Sarah J. McAteer, hereby certify that I served a true copy of the above document upon
all parties’ counsel via this court’s electronic filing system on April 3, 2023.

/s/ Sarah J. McAteer
